                            UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
____________________________________________________________________________
OPERATING ENGINEERS LOCAL 139
HEALTH BENEFIT FUND, CENTRAL
PENSION FUND OF THE INTERNATIONAL UNION
OF OPERATING ENGINEERS AND PARTICIPATING
EMPLOYERS, WISCONSIN OPERATING ENGINEERS
SKILL IMPROVEMENT AND
APPRENTICESHIP FUND,
JOINT LABOR MANAGEMENT WORK
PRESERVATION FUND,
TERRANCE E. MCGOWAN, as a Trustee of said Funds
except CENTRAL PENSION FUND, MICHAEL A. CRABTREE
as Chief Executive Officer of CENTRAL PENSION FUND, and
INTERNATIONAL UNION OF OPERATING
ENGINEERS, LOCAL 139,

                             Plaintiffs,

v.                                                         CIVIL ACTION NO. 20-CV-24

KIP GULSETH CONSTRUCTION COMPANY, INC.
1930 JOHNSTON DRIVE
MANITOWOC, WI 54220,

                        Defendant.
______________________________________________________________________________
                           AMENDED COMPLAINT
______________________________________________________________________________

       The Plaintiffs, Operating Engineers Local 139 Health Benefit Fund, Central Pension

Fund of the International Union of Operating Engineers and Participating Employers, Wisconsin

Operating Engineers Skill Improvement and Apprenticeship Fund, Joint Labor Management

Work Preservation Fund, Terrance E. McGowan, as a Trustee of all Funds except Central

Pension Fund, Michael A. Crabtree as Chief Executive Officer of Central Pension Fund, and the

International Union of Operating Engineers, Local 139, by their attorneys, complaining of the

Defendant, Kip Gulseth Construction Company, Inc., allege as follows:




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                                JURISDICTION AND VENUE

       1.      This action arises under the laws of the United States and is brought pursuant to

the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§ 1132, 1145

(hereinafter referred to as “ERISA”) and the Labor-Management Relations Act of 1947, as

amended, 29 U.S.C. § 185. Jurisdiction is based upon the existence of questions arising under

federal law, 28 U.S.C. § 1331. The rights asserted with respect to all Counts arise from the same

series of transactions and there are common questions of law and facts to all Counts.

       2.      Plaintiffs are administered at N27W23233 Roundy Drive Pewaukee, WI 53702,

which is located in this district making venue proper, 28 U.S.C. § 1391(b)(2).

                                            COUNT I

       3.      Plaintiffs, Operating Engineers Local 139 Health Benefit Fund, Central Pension

Fund of the International Union of Operating Engineers and Participating Employers and

Wisconsin Operating Engineers Skill Improvement and Apprenticeship Fund (hereinafter

“Plaintiff Funds”), are “employee welfare benefit plans” and “plans” within the meaning of

ERISA (“Plans”). Plaintiff McGowan is a fiduciary of Plaintiff Funds except Central Pension

Fund. Michael A. Crabtree is the Chief Executive Officer of Central Pension Fund.

       4.      Defendant is a party to a collective bargaining agreement with Local 139 of the

International Union of Operating Engineers (“Collective Bargaining Agreement”).

       5.      Defendant is obligated to make fringe benefit contributions to Plaintiff Funds

under the terms of the Collective Bargaining Agreement. Defendant is also obligated to make

fringe benefit contributions to Plaintiff Funds under the terms of the trust agreements that are

incorporated by reference in the Collective Bargaining Agreement and establish and govern

Plaintiff Funds (“Trust Agreements”).



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       6.      Defendant is an “Employer” within the meaning of ERISA and is obligated to

make fringe benefit contributions to Plaintiff Funds pursuant to ERISA, 29 U.S.C. § 1145.

       7.      As an Employer obligated to make fringe benefit contributions to Plaintiff Funds

under the Collective Bargaining Agreement and Trust Agreements, Defendant is specifically

required to do the following:

       a.      To submit for each month a report stating the names, Social Security numbers,
               and number of hours worked in such month by each and every person on whose
               behalf contributions are required to be made by Defendant to Plaintiff Funds, or,
               if no such persons are employed, to submit a report so stating (“Monthly
               Reports”);

       b.      To accompany the aforesaid reports with payment of contributions based upon an
               hourly rate as stated in the applicable collective bargaining agreement or
               agreements;

       c.      To make all of its payroll books and records available to Plaintiff Funds for the
               purpose of auditing the same to verify the accuracy of Defendant’s past reporting
               upon request made by Plaintiff Funds;

       d.      To compensate Plaintiff Funds for the additional administrative costs and burdens
               imposed by delinquency or untimely payment of contributions by way of the
               payment of liquidated damages in the amount of twenty (20%) percent of any and
               all contributions which are not received by Plaintiff Funds for a particular month
               prior to the 15th day of the succeeding month, plus interest on the late payments
               up to 1 1/2 % per month simple interest to compensate for the loss of use of the
               money, see also 29 U.S.C. §§ 1132(g)(2)(B) and (C);

       e.      To pay any and all costs incurred by Plaintiff Funds in auditing Defendant’s
               payroll records should it be determined that Defendant was delinquent in the
               reporting or submission of all contributions required by it to be made to Plaintiff
               Funds;

       f.      To pay Plaintiff Funds’ reasonable attorneys’ fees and costs necessarily incurred
               in the prosecution of any action to require Defendant to submit its payroll books
               and records for audit or to recover delinquent contributions, see also 29 U.S.C.
               § 1132(g)(2)(D); and

       g.      To furnish to Plaintiff Funds a bond with good and sufficient surety thereon, in an
               amount acceptable to Plaintiff Funds, to cover future contributions due Plaintiff
               Funds.



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        8.         Defendant has breached its obligations to Plaintiff Funds and its obligations under

the Plans and Trust Agreements by failing to make payment of contributions, liquidated

damages, interest, and audit fees based upon an audit of the Defendant’s payroll records showing

Defendant to have been delinquent in the payment of contributions and to have reported hours

worked by its Employees incorrectly to Plaintiff Funds.

        9.         That upon careful review of all records maintained by them, and after application

of any and all partial payments made by Defendant, there is a total of $39,178.02 in

contributions, liquidated damages and interest on late contributions known to be due Plaintiff

Funds from Defendant for the audited period of November 1, 2017 through November 30, 2018

(“Audited Period”).

        10.        Defendant has failed to pay contributions for the time period December 1, 2018

through August 31, 2019 (“Unaudited Period”). Defendant has also failed to submit the required

Monthly Reports for the time period September 1, 2019 to the present. Currently, there is a

known liquidated amount due of $52,045.41 in contributions, liquidated damages and interest on

late contributions currently known to be due Plaintiff Funds from Defendant for the period

December 1, 2018 through August 31, 2019. However, since Defendant has failed to report for

the period September 1, 2019 through the present, additional amounts of contributions,

liquidated damages and interest may be due for the and continue to accrue during the pendency

of this lawsuit.

        11.        To-date, the total amount of contributions, liquidated damages and interest on late

contributions known to be due for the Audited and Unaudited Periods is $91,223.43.

        12.        Plaintiff Funds have requested that Defendant performs its obligations, but

Defendant has failed and refused to so perform.



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       13.      Defendant’s continuing refusal and failure to perform its obligations to Plaintiff

Funds is causing and will continue to cause irreparable injuries to Plaintiff Funds for which they

have no adequate remedy at law.

       WHEREFORE, Plaintiff Funds request the following relief:

       A.       That Defendant be ordered to continue submitting contribution reports and pay all
                current contributions while this action is pending;

       B.       That Judgment be entered in favor of the Plaintiff Funds and against Defendant
                for all unpaid contributions, liquidated damages, any costs of auditing
                Defendant’s records, and Plaintiff Funds’ reasonable attorneys’ fees and Court
                costs necessarily incurred in this action, all as provided for in the Plans, Trust
                Agreements and in ERISA;

       C.       That Defendant be permanently enjoined and ordered to perform specifically its
                obligations to the Plaintiff Funds, and in particular, to continue submitting the
                required reports and contributions due thereon to the Plaintiff Funds in a timely
                fashion as required by the Plans and by ERISA; and

       D.       That the Plaintiff Funds have such further relief as may be deemed just and
                equitable by the Court, all at Defendant’s cost.

                                            COUNT II

       14.      Plaintiff International Union of Operating Engineers, Local 139 (“Plaintiff

Union”) is a labor organization representing certain of Defendant’s employees as the duly

authorized collective bargaining representative, and is party to the Collective Bargaining

Agreement to which Defendant has agreed to be bound.

       15.      Under the Collective Bargaining Agreement, Defendant has agreed to deduct

from the wages of those of its employees represented by Plaintiff Union in collective bargaining

and who execute proper written authorization, sums of money as and for union dues, which

monies are to be remitted to Plaintiff Union on a monthly basis along with Defendant’s regular

fringe benefit reports and contributions, as described in Count I of this Amended Complaint.




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       16.      Defendant has deducted or have been required to deduct dues from the wages of

its employees as required by the Collective Bargaining Agreement. Plaintiff Union has been

unable to verify whether Defendant has properly remitted all such monies deducted from

employees’ wages to Plaintiff Union, and has instead converted such monies to their own use,

because some of the amounts due are for unaudited periods of time, as alleged in Count I of this

Amended Complaint.

       17.      The total amount of money which Plaintiff Union knows Defendant to have failed

to remit in violation of the Collective Bargaining Agreement is $2,802.58 for the Audited and

Unaudited Periods. Additional amounts are likely due for the Unaudited Period, but Plaintiff

Union has been unable to ascertain the amount as a result of Defendant’s failure to submit

Monthly Reports, as alleged in Count I of this Amended Complaint.

       18.      The Defendant’s acts and omissions as described herein constitute a breach of the

Collective Bargaining Agreement and entitle Plaintiff Union to recover from Defendant all

monies which Defendant was required to remit to Plaintiff Union, whether deducted from wages

or not and whether traceable or untraceable commingled with Defendant’s assets, and further

entitle Plaintiff Union to recover from Defendant its damages for breach of Defendant’s

obligations.

       WHEREFORE, Plaintiff Union requests the following relief:

       A.       That judgment be entered in its favor and against Defendant for all sums
                determined to be due Defendant to Plaintiff Union;

       B.       That Plaintiff Union recover from Defendant its damages and all costs of
                collection and recovery including its reasonable attorneys’ fees and costs; and

       C.       That Plaintiff Union have such further relief as may be considered just and
                equitable by the Court, all at Defendant’s cost.




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                                           COUNT III

       19.      Plaintiff Joint Labor Management Work Preservation Fund a/k/a Construction

Business Group (“JLMWPF”) is a jointly trusted labor management cooperative established to

assist workers and employers in solving problems of mutual concern not susceptible to resolution

within the collective bargaining process, to improve the employment opportunities of employees,

to expand the market for the construction industry, to improve communications between labor

and management, and to provide workers and employers with opportunities to explore joint

approaches to organization and effectiveness. Plaintiff McGowan is a fiduciary of JLMWPF.

       20.      Defendant is a party to the Collective Bargaining Agreement, which requires

contributions to Plaintiff JLMWPF at a set rate for each hour worked by employees performing

work covered under the Collective Bargaining Agreement.

       21.      Defendant has failed to remit the contributions due.

       22.      The total amount of money which Plaintiff JLMWPF knows Defendant to have

failed to remit in violation of the Collective Bargaining Agreement is $574.37 for the Audited

Periods. An additional amount of $783.08 is also due for the Unaudited Period. Additional

amounts are likely due for the Unaudited Period, but Plaintiff JLMWPF has been unable to

ascertain the amount as a result of Defendant’s failure to submit Monthly Reports, as alleged in

Count I of this Amended Complaint.

       23.      The Defendant’s acts and omissions as described herein constitute a breach of the

Collective Bargaining Agreement and entitle Plaintiff JLMWPF to recover from Defendant all

monies which Defendant was required to remit to Plaintiff JLMWPF, whether traceable or

untraceable commingled with Defendant’s assets, and further entitle Plaintiff JLMWPF to

recover from Defendant its damages for breach of Defendant’s obligations.



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       WHEREFORE, Plaintiff JLMWPF requests the following relief:

       A.      That judgment be entered in its favor and against Defendant for all sums
               determined to be due Defendant to Plaintiff JLMWPF;

       B.      That Plaintiff JLMWPF recover from Defendant its damages and all costs of
               collection and recovery including its reasonable attorneys’ fees and costs; and

       C.      That Plaintiff JLMWPF have such further relief as may be considered just and
               equitable by the Court, all at Defendant’s cost.


       Dated this 5th day of February, 2020.



                                                     /s/ Cynthia L. Buchko

Cynthia L. Buchko
In-House Counsel for
Operating Engineers Local 139 Health Benefit Fund,
Wisconsin Operating Engineers Skill Improvement and
Apprenticeship Fund, Trustee Terrance E. McGowan,
International Union of Operating Engineers Local 139 and
Joint Labor Management Work Preservation Fund
a/k/a Construction Business Group
4702 S. Biltmore Lane
Madison, WI 53718
Attorney No. 1036102
Telephone: 608-310-8341
Facsimile: 608-240-4179
E-mail: c.buchko@cbgwi.com




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                                                      /s/ Laura M. Finnegan
Laura M. Finnegan
BAUM SIGMAN AUERBACH & NEUMAN, LTD.
200 West Adams Street, Ste. 2200
Chicago, IL 60606-5231
Attorney No. 1058640
Telephone: 312-236-4316
Facsimile: 312-236-0241
E-mail: lmfinnegan@baumsigman.com

Attorney for Plaintiffs Central Pension Fund of the
International Union of Operating Engineers and
Participating Employers and Michael A. Crabtree as
Chief Executive Officer of Central Pension Fund




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